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                                     8                           UNITED STATES DISTRICT COURT

                                     9                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

                                    10
                                         Ron Kramer, an individual residing in    Case No. 2:14-CV-6790-MWF(MRWx)
                                    11   California; ThermoLife International
                                    12   LLC, an Arizona limited liability        ORDER GRANTING STIPULATION TO
233 Wilshire Boulevard, 4th Floor
 Santa Monica, California 90401




                                         company,                                 DISMISS
    Kercsmar & Feltus PLLC




                                    13
        (310) 566-8176




                                                        Plaintiffs,
                                    14
                                         v.                                       (Assigned to the Hon. Michael W. Fitzgerald)
                                    15
                                         John Romano, an individual residing in
                                    16   Mexico,
                                    17
                                                        Defendant.
                                    18
                                               The parties having stipulated and good cause appearing;
                                    19
                                               IT IS ORDERED dismissing this matter without prejudice against Defendant John
                                    20
                                         Romano with each party to bear its own attorneys’ fees and costs. The hearing on the
                                    21
                                         Order To Show Cause Re Dismissal set for September 12, 2016 at 11:30 a.m. is hereby
                                    22
                                         vacated.
                                    23
                                                      DATED this 12th day of September, 2016.
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                                                                                  _____________________________
                                    26                                            Michael W. Fitzgerald
                                                                                  United States District Judge
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